Case 1:20-mj-00165-UNA Document 3 Filed 11/23/20 Page 1 of 5 PagelD #: 1

AO 93 (Rev. 11/13) Search and Seizure Warrant

UNITED STATES DISTRICT COURT
for the uns LED

District of Delaware or] o Fy \5
In the Matter of the Search of ) ee
(Briefly describe the property to be searched )
or identify the person by name and address) ) Case No. 20-165M
APPLE ICLOUD BACKUPS
)
SEARCH AND SEIZURE WARRANT

To: Any authorized law enforcement officer

An application by a federal law enforcement officer or an attorney for the government requests the search
of the following person or property located in the Wilmington District of Delaware

(identify the person or describe the property to be searched and give its location):

See Attachment A, incorporated herein

I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property
described above, and that such search will reveal (identify the person or describe the property to be seized):

See Attachment B, incorporated herein

YOU ARE COMMANDED to execute this warrant on or before July 24, 2020 (not to exceed 14 days)
C1 in the daytime 6:00 a.m. to 10:00 p.m. at any time in the day or night because good cause has been established.

Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the
person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.

The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory
as required by law and promptly return this warrant and inventory to

(United States Magistrate Judge)

© Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification may have an adverse result listed in 18 U.S.C.
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose
property, will be searched or seized (check the appropriate box)

1 for days (not to exceed 30) 1 until, the facts justifying, the later specific date of

Date and time issued: 07/10/2020 10:10AM

City and state: Wilmington, Delaware Honorable Sherry R. Fallon, U.S. Magistrate Judge

Printed name and title
Case 1:20-mj-00165-UNA Document 3 Filed 11/23/20 Page 2 of 5 PagelD #: 2

Acres pes 11/42) Search amd Nepatmre Warrant (Page 2)

Return

Case No.: Date and time warrant executed: Copy of warrantamLinventas left with:

20-145 Fi \ore 29 AY Appl. 10¢. Ices c

Inventory made in the presence of : Aasor o per, ) RS- Co S inl A ea

Inventory of the property taken and name of any person(s) seized:
for Fle \dood Backves Cortrams, Abt MoS"

aspeurkd vwirg tHe Age |phen. ank IPA
GackwPs ENON s PLB Fa7e, BAY und. a323,

Certification

I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant tu the
designated judge.

Date: u}ao| Pip. L > (Z

Execute officer ‘Sfenuture

Cy th A. Pres lee: Ye cial Aapat-

Printed aame ard ute

Case 1:20-mj-00165-UNA Document 3 Filed 11/23/20 Page 3 of 5 PagelD #: 3

ATTACHMENT A
Property to be Searched

The property to be searched is the APPLE ICLOUD BACKUP DATA, defined below,

located in the iCloud account data provided by Apple for the Apple User Identification

rhbdc@icloud.com contained within Apple Production 19275210 received on or about September

25, 2019, pursuant to a prior search warrant for the Apple email account rhbc@icloud.com. The

APPLE ICLOUD BACKUP DATA associated with Apple ID rhbdc@icloud.com and that will be

searched includes the following specific device information:

e backup of an Apple iPhone Xx Device
D_8c78970d9dda9fSdbe1625b3 1 lefc72a6c50f68f;

e backup of an Apple iPhone 6S Device
D_cdbe6900fc533da66a6c28169158d05cfb419a70;

e backup of an Apple iPad Pro Device
D_£846713a36c06653457179e18582aalc478e8db4; and

e backup of Apple iPhone XR Device
D_al5b4al73b8ee009ee9adb908be74e4db6 1 8a323.

(collectively, the “APPLE ICLOUD BACKUP DATA”).

Identification

Identification

Identification

Identification

The APPLE ICLOUD BACKUP DATA is currently located at the FBI-Wilmington

Resident Agency, 500 Delaware Avenue, Suite 300 Wilmington, DE, 19801.
Case 1:20-mj-00165-UNA Document 3 Filed 11/23/20 Page 4 of 5 PagelD #: 4

ATTACHMENT B
Particular Things to be Seized

All information that constitutes fruits, contraband, evidence, and instrumentalities of tax
evasion (26 U.S.C. § 7201), willful failure to file tax returns and failure to pay income tax
(26 U.S.C. § 7203), and willfully filing false tax returns (26 U.S.C. § 7206(1)), those violations
involving Robert Hunter Biden or any entity he owns or controls, occurring after January 1, 2014,
including, for the APPLE ICLOUD BACKUP DATA listed on Attachment A, information
pertaining to the following matters:

(a) All financial and other bookkeeping information and records, including
correspondence regarding the same;

(b) All records and information relating to federal, state, and foreign individual,
corporate, employment and property taxes, including correspondence regarding the
same;

(c) All records and information pertaining to personal and business expenditures
including correspondence regarding the same;

(d) All records and information reflecting business operations and business ownership,
including business incorporation documents, employment records, paychecks,
business expenses, business income, investments, and work schedules, including
correspondence regarding the same;

(e) Evidence indicating the state of mind of the owner and user of the APPLE ICLOUD
BACKUP DATA as it relates to the crime under investigation;

(f) Evidence of user attribution showing who used or owned the APPLE ICLOUD

BACKUP DATA at the time the things described in this warrant were created,
Case 1:20-mj-00165-UNA Document 3 Filed 11/23/20 Page 5 of 5 PagelD #: 5

edited, or deleted, such as logs, phonebooks, saved usernames and passwords,
documents, and browsing history;

This warrant authorizes a review of electronically stored information, communications,
other records and information disclosed pursuant to this warrant in order to locate evidence, fruits,
and instrumentalities described in this warrant. The review of this electronic data may be
conducted by any government personnel assisting in the investigation, who may include, in
addition to law enforcement officers and agents, attorneys for the government, attorney support
staff, and technical experts. Pursuant to this warrant, the FBI or IRS-CI may deliver a complete
copy of the disclosed electronic data to the custody and control of attorneys for the government

and their support staff for their independent review.
